Case 2:10-cv-06948-BMS Document 1-2 Filed 11/29/10 Page 1of1

BMS UNITED STATES DISTRICT COURT
FOR THE EASTE PENNSYLVANIA — DESIGNATION FORM to be used by counsel to indicate the category of the case for the purpose of

assignment to appropriate calendar.

Address of Plaiatiff 47 Park Ave., Elverson, PA i 0 6 9 4 8

Address of Defendant; Nanochem Technologies, LLC - 1203 Kent St., Elkhart, IN 46514
GMM Development Limited - 1179 Kent St., Elkhart, IN 46514

Place of Accident, Incident or Transaction:___Pennsv lvania
(Use Reverse Side For Additional Spacey i

 

Does this civil action involve a nongovernmental corporate party with any parent corporation and any publicly held corporation owning 10% or more of its stock?

 

 

(Attach two copies of the Disclosure Statement Form in accordance with Fed.R.Civ.P. 7.1(a)) Yes NoL#
Does this case involve multidistrict litigation possibilities? YesO Nol
RELATED CASE, IF ANY:

Case Number: Judge Date Terminated:

 

Civil cases are deemed related when yes is answered to any of the following questions:

1, Is this case related to property included in an earlier numbered suit pending or within one year previously terminated action in this court?
YesO Noll
2, Does this case involve the same issue of fact or grow out of the same transaction asa prior suit pending or within one year previously terminated
action in this court?
Yes CO No
3, Does this case involve the validity or infringement of a patent already in suit or any earlier numbered case pending or within one year previously

terminated action in this court? YesL] NoEl

4, Is this case a second or successive habeas corpus, social security appeal, or pro se civil rights case filed by the same individual?

Yes O no

 

CIVIL: (Place Y in ONE CATEGORY ONLY)

A. Federal Question Cases: B. Diversity Jurisdiction Cases:
1. © Indemnity Contract, Marine Contract, and All Other Contracts 1. O Insurance Contract and Other Contracts
2. O FELA 2. G Airplane Personal Injury
3. O Jones Act-Personal Injury 3, O Assault, Defamation
4, O Antitrust 4. O Marine Personal Injury
5, [& Patent 5. O Motor Vehicle Personal Injury
6, O Labor-Management Relations 6. O Other Personal Injury (Please
specify)
7, O Civil Rights 7. O Products Liability
8. O Habeas Corpus 8. O Products Liability — Asbestos
9. O Securities Act(s) Cases 9, O All other Diversity Cases
10.0 Social Security Review Cases (Please specify)
11, 0 All other Federal Question Cases
(Please specify)

ARBITRATION CERTIFICATION
(Check Appropriate Category)

  
   
     

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Edward ang
X) Pursuant to Local Civil Rule 53.2, Segui
$150,000.00 exclusive of interest and

% Relief other than monetary d@mages is sought.

11/29/2010

   
  
 
 
  
   
 

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I certify that, to my knowledge, the within cpée js pot related to any cas
except as noted above.

pate: 11/29/2010

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